                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


MARLYN CAMPBELL,                                           Civil File No. 09-00303-CV-W-DW

               Plaintiff,

vs.                                                           STIPULATION OF DISMISSAL
                                                                       WITH PREJUDICE
ALLIANCE ONE RECEIVABLES MANAGEMENT, INC.,

               Defendant.



       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), the plaintiff Marlyn Campbell, and the defendant,

Alliance One Receivables Management, Inc. hereby stipulate to the dismissal of the above-styled

case and any claims that were raised or that could have been raised in this action, with prejudice,

each side to bear its own costs and attorneys fees.

                                              Respectfully submitted,

Dated: 09-23-09________                       By __/s/J. Mark Meinhardt
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                                              4707 College Boulevard, Suite 100
                                              Leawood, KS 66211
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                                              ATTORNEY FOR PLAINTIFF


Dated: 09-24-09        ________               By __/s/Joshua C. Dickinson___________
                                              Joshua C. Dickinson, #51446
                                              Benjamin T. Clark, #53155
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